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                    UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


TAIWAN DICKERSON,                             Case No.: 2:11-cv-1990-
                                              MAM
               Plaintiff,
       v.

NCO FINANCIAL SYSTEMS,
INC.

               Defendant.

                              SATISFACTION OF JUDGMENT


       Kindly mark the judgment and demand for fees and costs in this matter as SATISFIED. It

is certified that there are no outstanding executions with any Sheriff or Marshall.

       THEREFORE, full and complete satisfaction of said judgment is hereby acknowledged

and the Clerk of Courts is hereby authorized and directed to make an entry of the full and

complete satisfaction on the docket of said judgment.



       Dated: July 1, 2011                    /S/ Tara L. Patterson
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